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                           UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

In re:

Michael J. Iannarino,                            Case No.: 2:19-bk-55160

               Debtor

_______________________________

AMANDA CULLISON                            :
                                           :
               Plaintiff                   :
                                           :
v.                                         :     Adversary Proceeding No.: __________
                                           :
MICHAELJ. IANNARINO,                       :
4965 Shadycrest Road                       :
Columbus OH 43229                          :
                                           :
               Defendant,                  :
                                           :

              COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT

         Now comes Amanda Cullison, by and through counsel, and for her complaint

against the Debtor, Michael J. Iannarino, pursuant to Bankruptcy Code 523 (a)(6)

provides the following facts:

         1.    The above-captioned adversary proceeding (the “Adversary Proceeding”)

arises in and is related to the above-captioned bankruptcy case (the “Chapter 11”), which

is currently pending under Chapter 7 of Title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of

Ohio, Eastern Division (the “Court”).

         2.    This Adversary Proceeding is brought pursuant to Rule 7001 of the Federal

Rules of Bankruptcy Procedure.
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       3.        This Court has jurisdiction over the subject matter of this Adversary

Proceeding pursuant to 28 U.S.C. §§ 157 and 1334; this matter is a core proceeding

pursuant to code.

       4.        Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(b).

       5.        Ms. Cullison filed a complaint with the Franklin County Court of Common

Pleas, case number 19CV03952 on May 15, 2019.

       6.        In that complaint, Ms. Cullison alleges that on or about February 18, 2015,

Ms. Cullison attended a job interview at the offices of Columbus Kombucha with Mr.

Iannarino.

       7.        Mr. Iannarino hired Ms. Cullison to sell kombucha. Mr. Iannarino and Ms.

Cullison then went together to Defendant’s home office to pick up the product that Ms.

Cullison would be selling.

       4.        While at the home office, Mr. Iannarino suddenly and inexplicably lunged at

Ms. Cullison and repeatedly punched her in the head.

       5.        Mr. Iannarino held Ms. Cullison down and choked and strangled her while

he spit in her face. Mr. Iannarino told Ms. Cullison very vulgar, sexual things he was going

to do to her, including his desire to sexually assault her and to assault her husband; Mr.

Iannarino also told Ms. Cullison that no one could find her or help her and that no one

could hear her scream.

       6.        Mr. Iannarino unleashed a torrent of vulgar and sexually explicit comments

toward Ms. Cullison while he was physically assaulting her.

       7.        Ms. Cullison filed the civil suit to recover compensatory damages as a result

of the attack.



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      8.     Mr. Iannarino’s violent assault on Ms. Cullison constitutes a willful and

malicious attack.

      9.     Mr. Iannarino should not be permitted to use a bankruptcy proceeding to

evade responsibility for civil damages he caused by intentionally and maliciously

assaulting Ms. Cullison.

      10.    For all these reasons, Ms. Cullison seeks an order of this court declaring

that the prospective damages she may be awarded in her civil case against Mr. Iannarino

are not dischargeable in bankruptcy.

      WHEREFORE, Ms. Cullison, a creditor in Mr. Iannarino’s bankruptcy matter (Case

No. 2:19-bk-55160), seeks a declaration of this court that the potential judgment against

Mr. Iannarino in the matter of Cullison v. Iannarino, Case No. 19CV003952, Franklin

County Court of Common Pleas, is not dischargeable in bankruptcy.

                                               Respectfully submitted,



Dated: November 5, 2019                        /s/ Jessica L. Olsheski
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